Case
 Case2:17-cr-00001-JAD-DJA
      2:17-cr-00001-JAD-CWH Document
                             Document289  Filed 04/19/18
                                      258 Filed 05/04/18 Page
                                                          Page11ofof44
Case
 Case2:17-cr-00001-JAD-DJA
      2:17-cr-00001-JAD-CWH Document
                             Document289  Filed 04/19/18
                                      258 Filed 05/04/18 Page
                                                          Page22ofof44
Case
 Case2:17-cr-00001-JAD-DJA
      2:17-cr-00001-JAD-CWH Document
                             Document289  Filed 04/19/18
                                      258 Filed 05/04/18 Page
                                                          Page33ofof44




      May 4, 2018
Case
 Case2:17-cr-00001-JAD-DJA
      2:17-cr-00001-JAD-CWH Document
                             Document289  Filed 04/19/18
                                      258 Filed 05/04/18 Page
                                                          Page44ofof44
